
USCA1 Opinion

	










          December 13, 1995 UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                               _______________________

          No. 95-1313

                                    ANDRE GRENIER,

                                Plaintiff - Appellant,

                                          v.

                               CYANAMID PLASTICS, INC.,

                                Defendant - Appellee.

                               _______________________


                                     ERRATA SHEET
                                     ERRATA SHEET

               The opinion of this Court issued on November 27, 1995, is
          amended as follows:

          1.   On page 12, change footnote 3 to read:
                           change 

               Both parties refer us to this Guidance although it was
               published after the decision by Cyro to reject Grenier's
               application.  We note that a revised version of the Guidance
               was issued October 10, 1995, after oral argument in this
               case.  See Equal Employment Opportunity Comm'n, Enforcement
                      ___                                      ___________
               Guidance: Pre-Employment Disability-Related Questions and
               _________________________________________________________
               Medical Examinations (Oct. 10, 1995) (reprinted in EEOC
               ____________________                               ____
               Compl. Man. (CCH)   6093, at 5371).
               ___________

          2.   On page 13, lines 2-3, delete this parenthetical:
                                      delete

               (reprinted in EEOC Compl. Man. (CCH)   6903, at 5371, and in
                             ________________
               Americans with Disabilities Act Manual (BNA) No. 29)
               ______________________________________

          3.   On page 22, end of 6th line from bottom, add "1st Cir." to
                                                        add
          parenthetical, so that it reads: 

               (1st Cir. 1995)

          4.   On page 24, 5th line from bottom, end of parenthetical,
          change "at 355" to "at 347-48".
          change

          5.   On page 25, end of line 4, insert a footnote:
                                          insert

               On October 10, 1995, subsequent to oral argument, the EEOC
               issued a new Guidance.  Although neither party has argued
               that we ought to consider this newest guidance, we note that














               the EEOC has revised its interpretation of the ADA and now
               reaches the same conclusion.  Under a section headed "The
               Pre-Offer Stage," the EEOC now explains:

                    However, when an employer could reasonably believe that
                    an applicant will need reasonable accommodation to
                    perform the functions of the job, the employer may ask
                    that applicant certain limited questions. 
                    Specifically, the employer may ask whether s/he needs
                                                       __________________
                    reasonable accommodation and what type of reasonable
                    ________________________     _______________________
                    accommodation would be needed to perform the functions
                    _____________
                    of the job.

               Enforcement Guidance: Pre-Employment Disability-Related
               _______________________________________________________
               Questions and Medical Examinations (Oct. 10, 1995) (emphasis
               __________________________________
               in original).






















































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1313

                                    ANDRE GRENIER,

                                Plaintiff - Appellant,

                                          v.

                               CYANAMID PLASTICS, INC.,

                                Defendant - Appellee.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MAINE

                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                          Selya and Boudin, Circuit Judges,
                                            ______________

                             and Saris,* District Judge.
                                         ______________

                                _____________________

               Roderick H. Potter, with whom Potter, Prescott, Jamieson &amp;
               __________________            ____________________________
          Nelson was on brief for appellant.
          ______
               Jerrol A. Crouter, with whom Christopher G. Jernigan and
               _________________            _______________________
          Drummond Woodsum &amp; MacMahon were on brief for appellee.
          ___________________________



                                 ____________________

                                  November 27, 1995
                                 ____________________




                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    SARIS,  District  Judge.     Appellant  Andre   Grenier
                    SARIS,  District  Judge.
                            _______________

          ("Grenier") was employed as an electrician for Cyanamid Plastics,

          Inc., d/b/a Cyro Industries ("Cyro"), for several years before he

          was  placed on  disability leave  due to  psychological problems.

          After  his  employment  had  officially  terminated  by automatic

          operation  of  the company  disability  policy,  but while  still

          receiving disability benefits, Grenier  notified Cyro that he was

          an   individual  with   a   disability   who  needed   reasonable

          accommodation to return to  work and applied to be  re-hired into

          his  previous  position.   Before making  him  a job  offer, Cyro

          requested Grenier  to  provide certification  from his  physician

          stating   that  he  was  prepared  to   return  to  work  without

          restrictions   or   identifying  the   reasonable  accommodations

          necessary for him to return  to work.  When Grenier failed  to do

          so, his application was rejected.  

                    The difficult issue on  appeal is whether Cyro violated

          the  Americans  with  Disabilities   Act  ("ADA"),  42  U.S.C.   

          12112(d),   which   prohibits   certain   preemployment   medical

          examinations and  inquiries of a job applicant.   Concluding that

          Cyro did not  violate this provision  of the ADA,  we affirm  the

          district court's entry of summary judgment for Cyro.

                              I.  STATEMENT OF THE CASE
                              I.  STATEMENT OF THE CASE
                                  _____________________

                    A.  Facts
                    A.  Facts

                    Reviewing  the  factual   record  in  the  light   most

          favorable to the nonmoving party, as we must at summary judgment,

          see Mesnick  v. General Elec.  Co., 950 F.2d  816, 822 (1st  Cir.
          ___ _______     __________________


                                         -2-














          1991),  cert. denied, 504 U.S. 985 (1992), we treat the following
                  ____________

          facts as undisputed.

                      1.  The Disability Leave
                      1.  The Disability Leave

                    Andre Grenier worked as a shift electrician for Cyro at

          its  plant in  Sanford,  Maine, from  1980  to 1989.    Grenier's

          technical skill as an electrician was good.  In 1989, Grenier and

          several other employees were  questioned about vandalism of plant

          machinery  that  had  occurred   during  their  shift.    Grenier

          responded  to   the  questioning  "in  a   highly  emotional  and

          irrational  manner" and  failed to report  to his  next scheduled

          shift.   He informed his supervisor, William Kennedy, that he was

          afraid to be on a shift without an alibi, and that he was "losing

          it."  Stating  that Grenier's behavior  was "very disruptive  and

          potentially dangerous," Kennedy placed  Grenier on medical  leave

          in November 1989.   This leave was explicitly "until  such a time

          when you  can be cleared by  our medical department to  return to

          work."   Kennedy  informed Grenier  in writing  that in  order to

          return he would have to go through the standard reentry screening

          process,  including   permitting  his  doctors   to  discuss  the

          specifics of his case with the company doctor.  

                    In August 1990, Grenier mailed the first of a series of

          letters to  Cyro, including a one-page  letter received September

          27, 1990, and a six-page "statement" of April 11, 1991.  In these

          letters,  Grenier criticized  the plant  manager Skip  Brogli and

          complained that company actions in investigating vandalism at the

          plant and placing him  on medical leave had caused  him to suffer


                                         -3-














          increased  anxiety.   He attacked several  policies of  the plant

          that he claimed were  a "constant source of aggravation" to him. 

          He also  discussed in detail  various collateral issues,  such as

          the criminal charges faced by the son of a Cyro manager, a sexual

          harassment  investigation  of  a  fellow  employee,  and  various

          transfers of Cyro managers.

                    Grenier informed  Cyro in his letters  that his analyst

          Dr. Stewart "describes me as  being Narcissistic," but noted that

          "I prefer the  word 'proud.'"   He stated that "Dr.  Stewart also

          describes me as having  'somewhat paranoid beliefs concerning the

          malevolent intent of the (relatively  new) management.'"  He also

          noted that "[a]fter a year and a half of being unable to work, my

          analyst feels  that it would be  in my best interests  to quit my

          job and  find another . .  . that I've become  obsessed with this

          Skip guy  [manager Skip Brogli]."  He stated repeatedly, however,

          that he refused to quit his job.

                    "As a final  note," wrote Grenier in one  letter, dated

          April 11, 1991, "I want to point that [sic], although Dr. Stewart

          is indicating  that he feels  that I  am not totally  disabled, I

          still  feel convinced that I am."  Grenier realized his statement

          had "some  strong elements of  paranoia," but  claimed that  "the

          paranoia is not  just my own .  . . it has  become fairly rampant

          throughout the workforce."  And:

                    The   continuing   incidents  of   vandalism,
                    recently,   should  be  a   clear  signal  to
                    Corporate headquarters  that Cyro Industries,
                    in  Sanford, Me.  is still  more than  just a
                    little bit sick.


                                         -4-














                    There is  still some  hope, however,  if only
                    the right  steps are  taken.  And  unless the
                    right steps are taken, somebody else is going
                    to be hurt, maybe even killed.  Of that, I am
                    sure.

                    Grenier would not voluntarily terminate his employment.

          He  remained on indefinite  disability leave until  May 12, 1991,

          when his  employment at Cyro terminated automatically as a result

          of  the  expiration  of his  continuous  service  credits.   Cyro

          informed Grenier of his termination by letter May 15, 1991.

                    Grenier received  disability benefits  from Cyro  for a

          two-year period ending  December 31, 1992.   Under the  company's

          plan, benefits were  payable for up to  two years if Grenier  was

          under  the regular  care of  a licensed  physician and  unable to

          perform the duties of  his specific job, but benefits  would have

          continued beyond  this period  only if the  Disability Department

          determined that his medical condition prevented him "from working

          at any job for  which [he was] reasonably qualified  to perform."

          On December 4, 1992, the Cyro disability department wrote Grenier

          that based  on information  received from an  independent medical

          examination of July 30, 1992, he  was not disabled to this extent

          and, therefore, no benefits were payable after January 1, 1993.

                      2.  Application for Re-Employment
                      2.  Application for Re-Employment

                    In  a letter dated December  18, 1992, and addressed to

          Robert Lysaght,  the Personnel Operations Manager  at the Sanford

          plant, Grenier asked to be considered an applicant for the job of

          shift  electrician,  his  former  position.   Grenier  was  still

          receiving  disability benefits  at this  time.   In  this letter,


                                         -5-














          which   was   under   the   heading   "request   for   employment

          accommodation," Grenier stated:

                    I qualify as an individual  with a disability
                    as defined  by Federal and State Civil Rights
                    laws.

                    I   understand   that   CYRO  Industries   is
                    conducting  interviews  for  the position  of
                    shift mechanic in the  electrical department.
                    The  purpose  of this  letter  is  to request
                    accommodation to return to  work in the  same
                    capacity   as  I   had  been   working  since
                    September of 1980.

                                        . . .

                    I  believe  that  I  should be  afforded  the
                    opportunity to  be accommodated to  return to
                    my  job,  at  the  very least,  for  a  trial
                    period, to prove that I am able to perform my
                    job.

                    I    believe     that,    under    reasonable
                    circumstances, I should be able to perform in
                    a safe and reliable manner.

                    In response, Lysaght told Grenier in a January 5, 1993,

          letter that  "CYRO is  not currently accepting  applications" but

          that  the Maine unemployment  office would be  notified when Cyro

          was soliciting applications.  In reality, a job notice was posted

          on  January  4,  1993  --  subsequent  to  Grenier's  request for

          consideration as an applicant, but prior to the date of Lysaght's

          response.  Lysaght requested in his letter:

                    Since  your termination of employment came as
                    a  result  of  the expiration  of  Continuous
                    Service Credits while you were on an extended
                    medical leave, CYRO would  reasonably request
                    that you provide us with certification from a
                    physician that  you are prepared to return to
                    work without restrictions or  identifying any
                    accommodations that  are required for  you to
                    return to  work at the Sanford  location.  Of
                    course,    any   requests    for   employment

                                         -6-














                    accommodation will be considered  with regard
                    to  the reasonableness  at  the time  of  the
                    employment interview process.

                    Therefore, in order  to return  to work  with
                    CYRO  Industries you  need 1)  keep  in touch
                    with the Maine Unemployment office in Sanford
                    to  learn when  CYRO is  accepting employment
                    applications;   2)  complete   an  employment
                    application for a position  for which you are
                    qualified;  and 3)  provide CYRO  with notice
                    from your physician that you  are prepared to
                    return  to  work   without  restrictions   or
                    identifying  those reasonable  accommodations
                    that may be necessary.

                    By letter  of January  15, 1993, Grenier  forwarded his

          therapist's certification  that he was disabled  and requested to

          discuss accommodation with Cyro Vice President William Loman.  He

          also  maintained that  his employment  had never  terminated, and

          argued that the  May 15,  1991, letter that  informed him of  the

          termination "simply implies that my employment is terminated."

                    Cyro's New Jersey-based Personnel Director Thomas Ayres

          responded  by letter of January 25th by informing Grenier that he

          must follow the steps outlined in Lysaght's January 5th letter in

          order to be considered for employment.

                    Additional  correspondence  ensued.   Grenier  asserted

          that he was "capable of performing the essential functions of the

          job  with or without accommodation" but failed to describe how he

          would perform and refused to provide medical documentation.  Cyro

          continued to request the documentation.

                    On February 22, 1993, Cyro mailed Grenier an employment

          application,  which  Grenier promptly  returned.    By letter  of

          March 15,  1993,   Cyro   rejected  Grenier's   application   for


                                         -7-














          employment, stating that, "[a]fter careful review of all relevant

          information,   your  request  for   employment  consideration  is

          denied."  

                    B.  Proceedings Below
                    B.  Proceedings Below

                    Grenier filed a two-count  complaint in the District of

          Maine  on June 23, 1994, claiming  that Cyro violated the ADA and

          the  Maine Human  Rights Act, 5  M.R.S.A.    4551 et  seq.1  Cyro
                                                            ________

          filed a motion  for summary  judgment on the  issue of  pre-offer

          inquiries, and  Grenier opposed the  motion on the  same grounds.

          The District Court  entered summary judgment  for Cyro.   Grenier

          argues on appeal  that Cyro's pre-offer inquiry  violated the ADA

          and that there are  genuine issues of material fact  with respect

          to  his  claim  that  Cyro's  failure  to  hire  him  constituted

          intentional discrimination.

                                    II.  ANALYSIS
                                    II.  ANALYSIS
                                         ________

                    A.  Standard of Review
                    A.  Standard of Review

                    This  court  reviews  the  district  court's  grant  of

          summary  judgment de  novo.   The  standard  of review  has  been
                            ________

          clearly articulated by this court as follows:

                    Since  appellate review of a grant of summary
                    judgment  is plenary,  the court  of appeals,
                    like  the  district  court,  "must  view  the
                    entire record in the light most hospitable to
                    the   party    opposing   summary   judgment,
                    indulging all reasonable  inferences in  that
                    party's favor."   An  appellate panel  is not
                    restricted to the district  court's reasoning
                    but  can  affirm a  summary  judgment  on any
                    independently sufficient ground.  In the end,
                              
          ____________________

          1  As the parties acknowledge that federal law controls
          construction of the state claim, we do not discuss it separately.

                                         -8-














                    the entry  of summary judgment can  be upheld
                    only if "the pleadings,  depositions, answers
                    to interrogatories, and  admissions on  file,
                    together  with the  affidavits, if  any, show
                    that  there is  no  genuine issue  as to  any
                    material fact  and that  the moving party  is
                    entitled to a judgment as a matter of law.

          Mesnick v. General  Elec. Co., 950 F.2d 816, 822  (1st Cir. 1991)
          _______    __________________

          (citations omitted), cert. denied, 504 U.S. 985 (1992).
                               ____________

                    B.  Statutory Framework
                    B.  Statutory Framework

                    A  close  analysis  of  the  statutory  and  regulatory

          framework is  essential to  determine the  employer's obligations

          under the  ADA when  dealing with the  known disability of  a job

          applicant.

                      1.  The Statute  
                      1.  The Statute  

                    The ADA, 42  U.S.C.    12101 et seq.,  was enacted  "to
                                                 _______

          provide  a  clear  and  comprehensive national  mandate  for  the

          elimination   of   discrimination   against    individuals   with

          disabilities."   42  U.S.C.     12101(b).    In  the  context  of

          employment, the ADA provides:

                    (a)  General rule.   No covered  entity shall
                         General rule.
                    discriminate  against a  qualified individual
                    with a disability  because of the  disability
                    of   such  individual   in   regard  to   job
                    application    procedures,     the    hiring,
                    advancement,   or  discharge   of  employees,
                    employee  compensation,   job  training,  and
                    other  terms,  conditions, and  privileges of
                    employment.

          42 U.S.C.   12112(a).

                    With regard to medical examinations  and inquiries, the

          ADA  sets  up  separate  rules for  pre-offer  job  applications,

            12112(d)(2);     post-offer    pre-employment     examinations,


                                         -9-














            12112(d)(3); and inquiries of current employees,   12112(d)(4).

          Section 12112(d) provides as follows:

                    (d)  Medical examinations and inquiries. 
                      (1)  In   general.       The   prohibition    against
                           discrimination  as  referred to  in [  12112(a)]
                           shall    include   medical    examinations   and
                           inquiries.

                      (2)  Preemployment.

                           (A)  Prohibited examination or inquiry.   Except
                                as  provided in  paragraph  (3), a  covered
                                entity   shall   not   conduct  a   medical
                                examination  or make  inquiries  of  a  job
                                applicant as  to whether such  applicant is
                                an  individual with  a disability or  as to
                                the nature or severity of such disability.

                           (B)  Acceptable  inquiry.  A  covered entity may
                                make   preemployment  inquiries   into  the
                                ability  of an  applicant  to perform  job-
                                related functions.

          Pursuant to  paragraph (3),  an employer  may "require  a medical

          examination after  an offer of employment has  been made to a job

          applicant and prior to the commencement of employment duties, and

          may  condition  an offer  of employment  on  the results  of such

          examination" only  in certain circumstances.2   Once an applicant

                              
          ____________________

          2  This section provides in relevant part:

                      (3)  Employment  entrance  examination.    A  covered
                           entity may  require a medical  examination after
                           an  offer of employment  has been made  to a job
                           applicant  and  prior  to  the  commencement  of
                           employment  duties of  such  applicant, and  may
                           condition an offer of  employment on the results
                           of such examination, 
                           if --

                           (A)  all  entering  employees  are subjected  to
                                such    an   examination    regardless   of
                                disability;


                                         -10-














          becomes an  employee, an employer is prohibited  from requiring a

          medical  examination or  making inquiries  of an  employee as  to

          whether he  is  an "individual  with a  disability or  as to  the

          nature  or severity of the  disability unless such examination or

          inquiry is shown to be  job-related and consistent with  business

          necessity."    12112(d)(4).  An employer may make "inquiries into

          the  ability of an employee to perform job-related functions."   

          12112(d)(4)(B).

                      2.  The Regulations
                      2.  The Regulations

                    The  regulations adopted  under  the ADA  by the  Equal

          Employment  Opportunity  Commission  ("EEOC")  provide   that  an

          employer may  make "pre-employment inquiries into  the ability of

          an applicant to  perform job-related functions, and/or may ask an

          applicant to  describe  or to  demonstrate how,  with or  without

          reasonable accommodation,  the applicant will be  able to perform

          job-related  functions."    29 C.F.R.     1630.14(a).   The  EEOC

          crafted    1630.14(a)  in response  to  comments on  the proposed

          regulation from employers asking "whether an employer may ask how

          an individual  will perform a job function  when the individual's

          known disability appears to interfere with or prevent performance

          of job-related functions."  56 Fed. Reg. 35725, 35732 (1991).

                    The EEOC published  as an appendix to the regulations a

          section-by-section  "Interpretive  Guidance  on Title  I  of  the
                              
          ____________________

                           (B)  information obtained [is kept confidential,
                                with limited exceptions]; and

                           (C)  the  results of  such examination  are used
                                only in accordance with this subchapter.

                                         -11-














          Americans with Disabilities  Act."  29 C.F.R. Pt.  1630, App.  We

          have looked to this source in interpreting the ADA.  See Carparts
                                                               ___ ________

          Distrib. Ctr., Inc. v. Automobile Wholesaler's Ass'n, 37 F.3d 12,
          ___________________    _____________________________

          16  (1st Cir. 1994).   Such administrative interpretations of the

          Act by  the  enforcing agency,  "while not  controlling upon  the

          courts  by reason  of their  authority, do  constitute a  body of

          experience and  informed judgment  to which courts  and litigants

          may properly resort  for guidance."   Meritor Sav.  Bank, FSB  v.
                                                _______________________

          Vinson, 477 U.S. 57, 65 (1986).
          ______

                    The  EEOC  explains  the  regulation     1630.14(a)  as

          follows:

                    An  employer may  also  ask an  applicant  to
                    describe  or  to  demonstrate  how,  with  or
                    without    reasonable    accommodation,   the
                    applicant will be able to perform job-related
                    functions.  Such a request may be made of all
                    applicants   in   the   same   job   category
                    regardless of disability.  Such a request may
                    also  be made  of  an applicant  whose  known
                    disability  may interfere with or prevent the
                    performance   of   a  job-related   function,
                    whether  or not the  employer routinely makes
                    such a  request of all applicants  in the job
                    category.   For example,  an employer may ask
                    an individual with one  leg who applies for a
                    position  as a home washing machine repairman
                    to  demonstrate or  to explain  how, with  or
                    without  accommodation, he  would be  able to
                    transport  himself and  his  tools  down  the
                    basement stairs.   However, the  employer may
                    not inquire  as to the nature  or severity of
                    the  disability.  Therefore, for example, the
                    employer cannot  ask how the  individual lost
                    the  leg or whether  the loss  of the  leg is
                    indicative of an underlying impairment.

                      3.  The Guidance
                      3.  The Guidance





                                         -12-














                    An  EEOC Enforcement  Guidance,  dated  May 19,  1994,3

          further aids our interpretation of the rules concerning pre-offer

          inquiries  of  applicants with  known  disabilities.   See  Equal
                                                                 ___

          Employment    Opportunity     Comm'n,    Enforcement    Guidance:
                                                   ________________________

          Preemployment    Disability-Related    Inquiries   and    Medical
          _________________________________________________________________

          Examinations Under  the Americans  with Disabilities Act  of 1990
          _________________________________________________________________

          (EEOC Notice 915.002) (May 19, 1994) [hereinafter Guidance].  The
                                                            ________

          Guidance  was designed  "for interim  use by  EEOC investigators,

          pending coordination  with other  federal agencies."   Id., Exec.
                                                                 ___

          Summ.  It is not binding  law, but as a detailed analysis of  the

          relevant  ADA  provisions,  it  aids our  interpretation  of  the

          statute.

                    In  a  section   entitled  "When  the   Employer  Could

          Reasonably  Believe  that  Known Disability  Will  Interfere With

          Performance of Job Related Functions," the Guidance provides:  

                    When  an  employer  could reasonably  believe
                    that  an  applicant's  known disability  will
                    interfere  with  the  performance  of  a job-
                    related function, the  employer may ask  that
                    particular    applicant   to    describe   or
                    demonstrate  how  s/he   would  perform   the
                    function,   with    or   without   reasonable
                    accommodation.    Such inquiries  or requests
                    are not prohibited pre-offer inquiries.


                              
          ____________________

          3   Both  parties  refer us  to  this  Guidance although  it  was
          published  after  the  decision   by  Cyro  to  reject  Grenier's
          application.   We note that a revised version of the Guidance was
          issued  October 10, 1995, after oral argument  in this case.  See
                                                                        ___
          Equal  Employment Opportunity Comm'n,  Enforcement Guidance: Pre-
                                                 __________________________
          Employment Disability-Related Questions and  Medical Examinations
          _________________________________________________________________
          (Oct. 10,  1995) (reprinted in EEOC Compl.  Man. (CCH)   6093, at
                                         _________________
          5371).


                                         -13-














                    Example 5:   R may ask an  applicant with one
                    _________
                    leg  who applies  for  a job  as a  telephone
                    linesperson  to  describe or  demonstrate how
                    she  would  perform the  duties  of the  job,
                    because R may  reasonably believe that having
                    one leg  interferes with the ability to climb
                    telephone poles.

                    In some  cases, an applicant may  not have an
                    obvious   disability,  but   may  voluntarily
                    disclose  that s/he  has a  hidden disability
                    that  would  reasonably  appear to  interfere
                    with performance of  a job-related  function.
                    In  such  cases,  the  employer  may ask  the
                    applicant   to    describe   or   demonstrate
                    performance,   with  or   without  reasonable
                    accommodation.    Such inquiries  or requests
                    are not prohibited pre-offer inquiries.

                    Example  6:   An  applicant  for  the job  of
                    __________
                    repairing underground sewer lines voluntarily
                    discloses that she has severe claustrophobia.
                    R  may  reasonably   determine  that   severe
                    claustrophobia   would   interfere  with   an
                    employee's   ability   to  work   within  the
                    confined space of  an underground  sewer.   R
                    may  therefore ask the  applicant to describe
                    or demonstrate how she would perform the job,
                    with or without reasonable accommodation.

          Guidance   IV.B.5.b.
          ________

                    The EEOC explains  that allowing an employer to  ask an

          applicant with a known disability  to describe or demonstrate how

          he  would perform a job-related  function "is in  the interest of

          both applicants and employers."  Id. at n.23.
                                           ___

                    Employers  are entitled  to  know whether  an
                    applicant  with   an  apparently  interfering
                    disability can perform job-related functions,
                    with or without reasonable accommodation.  It
                    is in the interest  of an applicant with such
                    a  disability  to  describe   or  demonstrate
                    performance in  order to dispel  notions that
                    s/he is unable to  perform the job because of
                    the disability.

          Id.
          ___


                                         -14-














                    In a  section entitled  "Inquiries Concerning  Need for

          Accommodation and  Requests for  Documentation if  Applicant Asks

          for Accommodation,"  the Guidance permits an  employer during the

          hiring process to require an applicant "to inform the employer of

          any reasonable  accommodation needed"  to take an  "interview" or

          perform a "job demonstration."  Id.   IV.B.6.a.   With respect to
                                          ___

          accommodations for the job, as opposed  to accommodations for the

          hiring process, the Guidance explains:

                    An employer may ask an applicant whether s/he
                    can  perform specified  job-related functions
                    with  or  without  reasonable  accommodation,
                    because  these  inquiries elicit  information
                    about  an applicant's ability  to perform job
                                          _______
                    functions,    not   information    about   an
                    applicant's disability.  An employer also may
                    ask an applicant to describe  or demonstrate,
                    at   the  pre-offer  stage,  how  s/he  would
                    perform   job-related   functions,  with   or
                    without  reasonable   accommodation,  because
                    these inquiries elicit  information about  an
                    applicant's ability, not information about an
                                _______
                    applicant's disability. . . .

                    However, at the  pre-offer stage, an employer
                    may   not   generally  inquire   whether  the
                    applicant needs  reasonable accommodation for
                    the job.   For  example, an employer  may not
                    make  inquiries  such  as,  "Would  you  need
                    reasonable  accommodation in  this job?"   or
                    "Would you need  reasonable accommodation  to
                    perform  this  specific   function?"     Such
                    inquiries  are  likely to  elicit information
                    about the existence  of a disability because,
                    generally,   only   an   individual  with   a
                    disability  would  require an  accommodation.
                    Therefore, these inquiries are  prohibited at
                    the pre-offer stage.  

                    If  an  applicant  has voluntarily  disclosed
                    that   s/he   would    need   a    reasonable
                    accommodation   to   perform  the   job,  the
                    employer still may not  make inquiries at the
                    pre-offer  stage about  the type  of required
                                                ____
                    reasonable  accommodation  (except where  the

                                         -15-














                    applicant     has     requested    reasonable
                    accommodation as part of a required pre-offer
                    job demonstration, as described above).  

          Id.   IV.B.6.a (emphasis in original).
          ___

                    When an applicant requests reasonable accommodation, an

          employer  may   request   "documentation  from   an   appropriate

          professional (e.g.,  a doctor, rehabilitation  counsellor, etc.),

          stating  that s/he  has  a  disability."   Id.    IV.B.6.b.    An
                                                     ___

          employer  may also  require  documentation as  to an  applicant's

          functional  limitations "for  which  reasonable accommodation  is

          requested (and which flow from the  disability.)"  Id.  The  EEOC
                                                             ___

          reasoned   that  such  requests   are  not  prohibited  pre-offer

          inquiries because:

                    Requesting  such documentation  is consistent
                    with  the  ADA's  legislative history.    For
                    example,  Congress  specifically  anticipated
                    that  when  an applicant  requests reasonable
                    accommodation for the application process (or
                    when   an    employee   requests   reasonable
                    accommodation  for  the  job),  the  employer
                                                    _____________
                    should engage in  an interactive process with
                    _____________________________________________
                    the  individual  to  determine  an  effective
                    _____________________________________________
                    reasonable accommodation.
                    ________________________

          Id. (emphasis added).   As  an example, the  EEOC stated that  an
          ___

          employer  may at  the  pre-offer stage  require  an applicant  to

          obtain documentation from a  professional stating she cannot lift

          a certain amount and needs reasonable accommodation.  Id. 
                                                                ___

                    C.  The Pre-Offer Inquiry
                    C.  The Pre-Offer Inquiry

                    With this statutory  and regulatory framework  in mind,

          we turn to Grenier's  claim that Cyro's requirement of  a medical

          certification violates ADA   12112(d).

                      1.  Getting Along
                      1.  Getting Along

                                         -16-














                    First, Grenier  argues that  Cyro's letter  requiring a

          medical  certification  constituted   an  impermissible   inquiry

          because  the request was not  for information about  how he would

          perform  the job-related functions.   Rather than ask "whether he

          possessed  the requisite  skills  to perform  the electrical  and

          electronic  tasks called  for  in the  job description,"  Grenier

          complains, "Cyro assumed that his ability  to perform job related

          functions was  called  into question  by  his history  of  mental

          illness."  Grenier argues that Cyro already had knowledge that he

          was able to do the essential job-related functions because he had

          worked there for nine years and was "technically qualified."

                    Grenier   incorrectly   assumes   that  the   essential

          functions of the  job of shift electrician require only technical

          ability  and experience as  an electrician.   "The term essential

          functions  means the  fundamental  job duties  of the  employment

          position  the individual with a disability holds or desires."  29

          C.F.R.   1630.2(n)(1).   Technical skills and  experience are not

          the only essential  requirements of  a job.   See Pesterfield  v.
                                                        ___ ___________

          Tennessee Valley Auth., 941 F.2d 437, 441-42 (6th Cir. 1991) ("at
          ______________________

          least the ability  to get along with  supervisors and co-workers"

          was essential function of job as tool room attendant); Mancini v.
                                                                 _______

          General  Electric  Co.,  820 F.  Supp.  141,  147  (D. Vt.  1993)
          ______________________

          ("ability to  follow  the orders  of  superiors is  an  essential

          function of any position");  Pickard v. Widnall, 1994 WL  851282,
                                       _______    _______

          *9  (S.D.  Ohio,  Dec. 15,  1994) (No.  C-3-94-40)  ("mental  and

          emotional  stability" was  essential  job function  for  military


                                         -17-














          position); Johnston v. Morrison, 849 F. Supp. 777, 778 (N.D. Ala.
                     ________    ________

          1994)  (waitress who was unable to handle pressures of working on

          crowded nights or memorizing frequent menu changes was  unable to

          perform essential functions of job); cf. Bento v. I.T.O. Corp. of
                                               __  _____    _______________

          Rhode Island, 599 F.  Supp. 731,  742-43 (D.R.I.  1984) (although
          ____________

          there is "no question that plaintiff . . . is qualified to do the

          job, at  least in the sense of knowing how  to perform it," he is

          not necessarily  "otherwise qualified" within the  meaning of the

          Rehabilitation Act).

                    More specifically, an  employer may reasonably  believe

          that an employee known to have a paranoia about the plant manager

          is not  able to  perform his  job.  Cf.  Voytek v.  University of
                                              ___  ______     _____________

          California,  1994 WL 478805, *15, 6 A.D.D. 1137, 1161 (N.D. Cal.,
          __________

          Aug.  25, 1994) (No.  C-9203465 EFL)  (holding that  employee was

          legally denied re-employment after  period of disability where he

          "could not continue to perform all of the tasks assigned to him,"

          due in part to "the ongoing conflict with his supervisor").

                    The ADA does  not require an employer  to wear blinders

          to  a known  disability at  the pre-offer  stage, but  permits an

          "interactive   process"  beneficial  to  both  the  employer  and

          applicant.  The EEOC regulations recognize this by providing that

          an  employer  can ask  an applicant  with  a known  disability to

          describe  or   demonstrate  how   "with  or   without  reasonable

          accommodation" the  applicant will  be able  to do  the job.   29

          C.F.R.   1630.14(a).  Here, Cyro knew that the applicant had just

          recently been  unable to perform  his specific job  at Cyro as  a


                                         -18-














          result  of a mental disability  for which he  was still receiving

          benefits from Cyro and undergoing psychiatric treatment.  Indeed,

          Grenier  himself  had  claimed   he  was  totally  disabled  from

          performing  any work,  not just  his specific job  at Cyro.   Cf.
                                                                        ___

          August v. Offices Unlimited, Inc., 981 F.2d 576, 581-82 (1st Cir.
          ______    _______________________

          1982)  (man who  had  asserted on  insurance  forms that  he  was

          "totally disabled"  and had presented no  contrary evidence could

          not  be   found  to  be  "qualified   handicapped  person"  under

          Massachusetts  anti-discrimination  statute,  Mass. Gen.  L.  ch.

          151B); Reigel v. Kaiser Found. Health Plan, 859 F. Supp. 963, 969
                 ______    _________________________

          (E.D.N.C. 1994)  (woman who  certified to her  disability insurer

          that  she could not perform  her job was  estopped from asserting

          that  during the  same  time period  she  had been  qualified  to

          perform for purposes of the ADA).  We hold that this employer did

          not  violate the  prohibition  in    12112(d)  by inquiring  into

          Grenier's ability to function effectively in the workplace and to

          get  along with his  co-workers and supervisor,  rather than just

          his technical qualifications as an electrician.4

                      2.  The Medical Certification  
                      2.  The Medical Certification  

                              
          ____________________

          4  We note that the inquiry made by Cyro would not necessarily be
          permissible under  different  circumstances, such  as  where  the
          employer  was  less familiar  with the  nature  or extent  of the
          applicant's disability, or  with the effect of  the disability on
          job performance.    As the  EEOC  recognized when  preparing  the
          Guidance,  "there  are sometimes  subtle  distinctions between  a
          permissible  and a  prohibited  pre-offer inquiry."   Guidance   
                                                                ________
          IV.B.6.b.  See generally  Paul  F. Mickey, Jr. &amp; Maryelena Pardo,
                     ___ _________
          Dealing with Mental Disabilities  Under the ADA, 9 Lab.  Law. 531
          _______________________________________________
          (1993);  Janet  L. Hamilton,  New  Protections  for Persons  with
                                        ___________________________________
          Mental  Illness  in  the   Workplace  under  the  Americans  with
          _________________________________________________________________
          Disabilities Act of 1990, 40 Clev. St. L. Rev. 63, 92 (1992).
          ________________________

                                         -19-














                    Next Grenier argues  that Cyro's pre-offer  requirement

          of a medical certification is  an illegal pre-offer inquiry under

          the ADA because the regulations  "do not by their terms permit  a

          request  to  someone other  than  the applicant  at  the preoffer

          stage."

                    As a  preliminary matter, we address  whether a request

          for medical  certification constitutes a "medical examination" or

          whether  it  is  instead an  "inquiry."    The  ADA prohibits  an

          employer from conducting any pre-offer "medical examination" of a

          job  applicant.      12112(d)(2).   This  prohibition  applies to

          psychological examinations.   See Guidance at n.  47 (citing H.R.
                                        ___ ________

          Rep. No. 485 (Pt. 3), 101st Cong., 2d Sess. 46 (1990),  reprinted
                                                                  _________

          in  1990 U.S.C.C.A.N. vol. 4, Legis. Hist.,  445, 469).  The EEOC
          __

          defined "medical examination" as follows:

                    Medical examinations are procedures  or tests
                    that  seek  information about  the existence,
                    nature,  or  severity   of  an   individual's
                    physical or  mental impairment, or  that seek
                    information    regarding   an    individual's
                    physical or psychological health.

          Guidance   V.A.  We conclude that a certification from a treating
          ________

          psychiatrist that does not necessitate new tests or procedures is

          best  analyzed  as  an  "inquiry"  rather   than  as  a  "medical

          examination."

                    Also,  contrary   to  Grenier's  assertion,   the  EEOC

          interprets the ADA to allow certain inquiries of third parties at

          the pre-offer stage.  With respect to "inquiries to third parties

          regarding  an   applicant's  medical  condition,"   the  Guidance

          provides  that "[a]t the pre-offer stage", an employer can "ask a

                                         -20-














          third  party (e.g., a reference)  anything that it  could ask the
                        ____

          applicant  directly."   Guidance    IV.B.15.   Further, the  EEOC
                                  ________

          finds that requests for  documentation from health care providers

          to  confirm the existence of  a disability are permissible where,

          as  here,  requests  for  reasonable accommodation  are  made  in

          connection  with the  hiring  process or  job.   See  Guidance   
                                                           ___  ________

          IV.B.6.b.    We conclude  that an  employer  may request  that an

          applicant provide  medical certification from doctors  of ability

          to perform so long as the inquiry does not otherwise run afoul of

            12112(d)(2)(A).

                    The  primary thrust  of Grenier's  appeal is  that this

          inquiry -- the requirement of medical certification of ability to

          perform from  a former  disabled employee  applying to return  to

          work  with the same employer -- violates   12112(d)(2)(A) in that

          it  constitutes an inquiry of a "job applicant as to whether such

          applicant is an individual with a  disability or as to the nature

          or severity of such disability."

                    The Eighth Circuit recently addressed a similar factual

          situation in Brumley v. Pena, 62 F.3d 277 (8th Cir. 1995), a case
                       _______    ____

          decided   under   the   Rehabilitation   Act,    and   applicable

          regulations.5   Brumley was  a mentally disabled  former employee
                              
          ____________________

          5    The  ADA  extended  to  the  private  sector  the  essential
          substantive  provisions of  the  Rehabilitation Act  of 1973,  29
          U.S.C.    791-794.   See Chai  R. Feldblum, Medical  Examinations
                               ___                    _____________________
          and Inquiries under the  Americans with Disabilities Act: A  View
          _________________________________________________________________
          from the Inside, 64 Temple L.  Rev. 521, 521-22 (1991).  Congress
          _______________
          intended that  Rehabilitation Act precedent be  considered by the
          courts in interpreting  the ADA.   See 42 U.S.C.    12201(a); see
                                             ___                        ___
          also Ennis  v. National  Ass'n of Business  &amp; Educational  Radio,
          ____ _____     __________________________________________________
          Inc., 53 F.3d 55, 57 (4th Cir. 1995) ("To the extent possible, we
          ____

                                         -21-














          of  the  Federal  Aviation   Administration  ("FAA")  who  sought

          priority  consideration  for  restoration  to  federal employment

          pursuant  to 5  U.S.C.    8151,  which  predicated the  level  of

          priority for  re-employment on  the extent  of recovery from  the

          disability.    He  challenged  the  agency's  demand for  a  pre-

          employment examination by a  psychiatrist to determine whether he

          was fully or  only partially recovered  from his severe  reactive

          depression.  Id.  at 279.  In questioning the  application of the
                       ___

          regulations, the  court noted  that "[t]he  dilemma here  is that

          Brumley is not an outside job applicant seeking employment at the

          FAA for the first  time."  Id.  "Rather, he is a recipient of . .
                                     ___

          .  disability  payments  who  is  seeking  to  exercise  his  re-

          employment rights with  the FAA pursuant  to [5 U.S.C.    8151]."

          Id.  The court concluded that the employer  "retains the right to
          ___

          require  that  [the  former   employee's]  medical  condition  be

          verified in order to determine his re-employment rights."  Id. at
                                                                     ___

          279.  

                    As  in  Brumley,  this  Court  faces  the  quandary  of
                            _______

          determining the appropriate parameters  of a pre-offer inquiry of

          a former employee who is the recipient of disability benefits and

          now seeks re-employment.  Cyro argues that an employer should not

          be forced to  have "amnesia"  with respect to  a former  employee

          where  it  is  well aware  of  the nature  and  severity  of that
                              
          ____________________

          adjudicate  ADA  claims in  a  manner  consistent with  decisions
          interpreting the Rehabilitation Act.").  Specifically,  the ADA's
          statutory provisions  on medical examinations and  inquiries were
          drawn from  Rehabilitation  Act regulations.    See 29  C.F.R.   
                                                          ___
          1614.203(e) (formerly   1614.706); 45 C.F.R.   84.14.

                                         -22-














          employee's disability because it  had previously received medical

          information  that  formed  the  basis for  its  determination  of

          eligibility for  disability benefits.  Rather,  it urges, Grenier

          should  be  treated  as   an  existing  employee  returning  from

          disability leave, in  which case  the employer would  be able  to

          demand medical certification of  ability to return to work.   See
                                                                        ___

          42 U.S.C.   12112(d)(4)  (ADA provisions for medical examinations

          of  existing employees);  Hogan v. Bangor and Aroostook R.R. Co.,
                                    _____    _____________________________

          61  F.3d 1034,  1036 (1st  Cir. 1995)  (employee was  entitled to

          reinstatement after  suffering collapsed lung as  soon as medical

          evidence indicated he  was fit to return);  Pesterfield, 941 F.2d
                                                      ___________

          at 438  (employee who was hospitalized  for psychiatric treatment

          was required to  provide medical certification  as to ability  to

          return  to work);  Derbis v.  United States  Shoe Corp.,  1994 WL
                             ______     _________________________

          631155, *5, 6 A.D.D. 1071, 1075,  3 A.D. Cas. 1029, 1030, 65 Fair

          Empl. Prac. Cas. (BNA) 1328 (D.  Md., Sept. 7, 1994) (No. MJG-93-

          130)  (where plaintiff  on disability  leave presented  a medical

          report which indicated the employee could return to work but only

          with   some  accommodation,  employer  could  require  sufficient

          information  to  allow it  to  consider  any possible  reasonable

          accommodation),   aff'd  in   part  and   remanded   for  further
                            _______________________________________________

          proceedings, 67 F.3d 294 (4th Cir. 1995)  (table).  We agree that
          ___________

          this  case is  similar  to that  of  an employee  returning  from

          disability  leave.  It appears that neither Congress nor the EEOC

          took  into  account  the  case  of   a  returning  employee  when

          formulating the restrictions on pre-offer inquiries.  Here, as in


                                         -23-














          the case of the returning employee, the employer must be able  to

          assess the extent  of the applicant's recovery  from inability to

          perform.  Further, if accommodations are necessary to  enable job

          performance,  the  employer, who  is  already  familiar with  the

          disability, must learn of those  accommodations in order to  have

          any realistic chance of assessing ability to perform.

                    Grenier  contends that  the ADA  as interpreted  in the

          Guidance  prohibits an  employer's requirement  that a  physician

          identify the  type of  reasonable accommodations required  for an
                        _______

          employee  to  return to  work.    The Guidance  states:   "If  an

          applicant  has  voluntarily  disclosed  that s/he  would  need  a

          reasonable accommodation  to perform the job,  the employer still

          may  not make inquiries at the pre-offer  stage about the type of
                                                                    ____

          required reasonable accommodation."  Guidance   IV.B.6.a. 
                                               ________

                    We conclude  that the ADA does not preclude an employer

          from  asking an  applicant with  a known  disability who  seeks a
                                             _____

          reasonable accommodation to specify  the type of accommodation he

          seeks.  As the District Court pointed out, the Guidance prohibits

          pre-offer inquiry into  the type of  accommodation because it  is

          "likely  to elicit information about the nature and severity of a

          disability."   Guidance   IV.B.6.a.   The central  purpose of the
                         ________

          prohibition on pre-offer inquiries generally is to ensure that an

          applicant's  hidden disability  remains  hidden.   See H.R.  Rep.
                                                             ___

          No. 485 (Pt. 2), 101st  Cong., 2d Sess., at 73, reprinted in 1990
                                                          ____________

          U.S.C.C.A.N.  vol. 4,  Legis. Hist.,  303, 355  ("The legislation

          prohibits  any  identification  of  a disability  by  inquiry  or


                                         -24-














          examination  at the  pre-offer stage.");  Guidance    IV.A ("This
                                                    ________

          prohibition  is to  ensure  that an  applicant's possible  hidden

          disability  (including  prior history  of  a  disability) is  not

          considered  by  the employer  prior  to  the  assessment  of  the

          applicant's non-medical qualifications.").

                    With  respect  to   known  disabilities,  however,  the

          emphasis  is  on  encouraging  the  employer  to  "engage  in  an

          interactive process with the individual to determine an effective

          reasonable accommodation."  Guidance   IV.B.6.b (citing H.R. Rep.
                                      ________

          No. 485 (Pt.  2), supra, at 65-66, U.S.C.C.A.N. at 347-48).  That
                            _____

          is why the EEOC allows an employer to ask an applicant with known

          claustrophobia to  describe pre-offer  how she would  perform the

          job, with or without reasonable accommodation.  There could be no

          meaningful  interaction if  this  court would  accept the  strict

          interpretation Grenier presses on  us that an employer who  knows

          the precise nature of a disability that interferes with essential

          job   functions   cannot,  on   being  informed   pre-offer  that

          accommodation  will  be necessary,  follow  up  with the  logical

          question "what kind?"6
                              
          ____________________

          6    On October 10, 1995, subsequent to oral argument, the EEOC
               issued a new Guidance.  Although neither party has argued
               that we ought to consider this newest guidance, we note that
               the EEOC has revised its interpretation of the ADA and now
               reaches the same conclusion.  Under a section headed "The
               Pre-Offer Stage," the EEOC now explains:

                    However, when an employer could reasonably believe that
                    an applicant will need reasonable accommodation to
                    perform the functions of the job, the employer may ask
                    that applicant certain limited questions. 
                    Specifically, the employer may ask whether s/he needs
                                                       __________________
                    reasonable accommodation and what type of reasonable
                    ________________________     _______________________

                                         -25-














                    In sum,  an employer does not violate    12112(d)(2) of

          the  ADA by  requiring  a former  employee  with a  recent  known

          disability   applying  for   re-employment  to   provide  medical

          certification as to  ability to  return to work  with or  without

          reasonable  accommodation, and as  to the type  of any reasonable

          accommodation  necessary, as  long  as  it  is  relevant  to  the

          assessment of ability to perform essential job functions.

                    D.  Intentional Discrimination in Denial of Application
                    D.  Intentional Discrimination in Denial of Application

                    Finally,  Grenier argues  on appeal  that there  remain

          genuine  issues of  material fact  as to  his argument  that Cyro

          intentionally discriminated against him in violation of 42 U.S.C.

            12112(a), as opposed to   12112(d).  Grenier argues that,  even

          if Cyro did  not violate the  specific restrictions on  pre-offer

          inquiries,  there is a  genuine dispute of  material fact whether

          Cyro  illegally  discriminated  against Grenier  based  upon  his

          disability when it denied his application for employment.  

                    By failing to  make this argument in his  opposition to

          summary judgment, Grenier has failed to preserve this claim.  "It

          is by  now axiomatic  that an  issue not  presented to  the trial

          court cannot  be raised for the first  time on appeal."  Johnston
                                                                   ________

          v. Holiday Inns,  Inc., 595 F.2d 890, 894 (1st  Cir. 1979).  This
             ___________________

                              
          ____________________

                    accommodation would be needed to perform the functions
                    _____________
                    of the job.

               Enforcement Guidance: Pre-Employment Disability-Related
               _______________________________________________________
               Questions and Medical Examinations (Oct. 10, 1995) (emphasis
               __________________________________
               in original).



                                         -26-














          rule  may  be relaxed  only "in  horrendous  cases where  a gross

          miscarriage  of  justice would  occur."     Id.  (quoting  Newark
                                                      ___            ______

          Morning Ledger Co. v. United  States, 539 F.2d 929, 932 (3d  Cir.
          __________________    ______________

          1976)).   For  a new argument  to be  considered, it  must be "so

          compelling  as virtually  to  insure appellant's  success."   Id.
                                                                        ___

          (quoting Dobb v. Baker, 505 F.2d 1041, 1044 (1st Cir. 1974)).
                   ____    _____

                    Even an issue  raised in the  complaint but ignored  at

          summary judgment  may be  deemed waived.   "If  a party  fails to

          assert a legal reason why summary judgment should not be granted,

          that  ground  is waived  and cannot  be  considered or  raised on

          appeal."  Vaughner  v. Pulito, 804  F.2d 873,  877 n.2 (5th  Cir.
                    ________     ______

          1986); see also  Liberles v. County of Cook,  709 F.2d 1122, 1126
                 ________  ________    ______________

          (7th  Cir.  1983).   This  is  because  "an  appellate court,  in

          reviewing  a  summary judgment  order,  can  only consider  those

          matters  presented  to  the district  court."    Frank  C. Bailey
                                                           ________________

          Enterprises, Inc. v. Cargill,  Inc., 582 F.2d 333, 334  (5th Cir.
          _________________    ______________

          1978).

                    Although this alternative argument  can be found in the

          complaint,  and  Grenier asserts  it  would have  been  raised at

          trial, this  does not suffice to preserve  the issue.  Cyro moved

          for summary judgment on  all counts based solely on  the validity

          of the pre-offer inquiry  under   12112(d).  Grenier  argued only

          that issue in  his brief.  Although he  made an oblique reference

          in his  memorandum opposing summary judgment to Cyro's failure to

          challenge  or  admit  his  "ultimate contention  that  Andre  was

          discriminated against  on  the basis  of  his disability  by  the


                                         -27-














          rejection of his application," he concedes he never addressed the

          alternative  claim  of  intentional  discrimination.    The  only

          related evidence Grenier discussed  in his "statement of material

          facts"  at summary judgment was that Lysaght stated on January 5,

          1993 that  Cyro was not seeking  applicants, when it had  in fact

          given notice  of the job  opening the day  before.  See  Ennis v.
                                                              ___  _____

          National Ass'n  of Business &amp; Educ.  Radio, Inc., 53  F.3d 55, 58
          ________________________________________________

          (4th Cir. 1995) (discussing prima facie elements of claim under  

          12112(a)).   After the judge  entered final judgment  once he had

          determined that  Cyro was  entitled  to summary  judgment on  the

          issue   of  preemployment  medical   inquiries,  no   motion  for

          reconsideration  was filed.  There is nothing in the record which

          persuades us  to exercise  our discretion  to bend the  raise-or-

          waive rule.

                                   III.  CONCLUSION
                                   III.  CONCLUSION

                    For the  foregoing reasons, the District  Court's grant

          of summary judgment is AFFIRMED.
                                 AFFIRMED




















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